       Case 9:23-bk-10690-RC Doc 27 Filed 08/21/23 Entered 08/21/23 10:43:12                                          Desc
                           Notice of Dismissal (Generic) Page 1 of 1

                                        United States Bankruptcy Court
                                          Central District of California
                                       1415 State Street, Santa Barbara, CA 93101−2511

                                               NOTICE OF DISMISSAL
    DEBTOR INFORMATION:                                                           BANKRUPTCY NO. 9:23−bk−10690−RC
    SA Hospital Acquisition Group, LLC
                                                                             CHAPTER 11
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): N/A
    Employer Tax−Identification (EIN) No(s).(if any): 85−2379265
    Debtor Dismissal Date: 8/21/23


    Address:
    4308 Via Entrada
    Newbury Park, CA 91320


You are notified that an order was entered DISMISSING the above−captioned case and vacating the discharge if previously
entered.
The Court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                 For The Court,
Dated: August 21, 2023                                                           Kathleen J. Campbell
                                                                                 Clerk of Court




Form ntcdsm−ndms Rev. 06/2017                                                                                              27 / SY9
